 Case 20-12225-elf           Doc 16
                                Filed 06/26/20 Entered 06/26/20 09:41:11                         Desc Main
                                Document      Page 1 of 2
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Arelis A. Pizarro-Williams                                                     CHAPTER 7
       Antonie S. Williams
                               Debtor(s)

Quicken Loans, LLC fka Quicken Loans Inc.
                             Movant                                                 NO. 20-12225 ELF
               vs.

Arelis A. Pizarro-Williams
Antonie S. Williams
                                 Debtor(s)
                                                                               11 U.S.C. Section 362
Robert H. Holber Esq.
                                 Trustee

              MOTION OF QUICKEN LOANS, LLC FKA QUICKEN LOANS INC.
                     FOR RELIEF FROM THE AUTOMATIC STAY
                              UNDER SECTION 362

         1.       Movant is Quicken Loans, LLC fka Quicken Loans Inc.

         2.       Debtor(s) are the owner(s) of the premises 112 Central Avenue, Morrisville, PA 19067

 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $166,920.00 on the

 mortgaged premises that was executed on June 30, 2016. Said mortgage was recorded on July 6, 2016 in

 Instrument Number 2016039284. The Mortgage was subsequently assigned to Movant by way of

 Assignment of Mortgage.

         4.       Robert H. Holber Esq., is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 7 Petition in

 Bankruptcy by the Debtor(s).

         6.       Debtor(s) have failed to make the monthly mortgage payments in the amount of $2,079.35

 for the months of January 2020 through June 2020 with accumulated late charges in the amount of $185.52

 on the mortgage subsequent to the filing of the Bankruptcy Petition.

         7.       The total amount necessary to reinstate the loan is $12,661.62.
Case 20-12225-elf         Doc 16      Filed 06/26/20 Entered 06/26/20 09:41:11                  Desc Main
                                      Document      Page 2 of 2
        8.      According to the Debtors’ Schedules, the property value is $179,200.00.

        9.      The total balance owed is $153,496.13 as of June 10, 2020.

        10.     Debtors have claimed as exempt the equity in the Property.

        11.     Per the Debtors’ Statement of Intention, the subject property is being surrendered.

        12.      Movant is entitled to relief from stay for cause. Furthermore, the Movant is not adequately

protected.

        13.     This motion and the averments contained therein do not constitute a waiver by the

Movant of its right to seek reimbursement of any amounts not included in this motion, including fees and

costs, due under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting the

Movant to proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's

Grantee to take any legal action to enforce its right to possession of the mortgage premises. Further, the

Movant prays that an Order be entered awarding the Movant the costs of this suit, reasonable attorney's fees

in accordance with the mortgage document and current law together with interest.

                                                       /s/ Rebecca A. Solarz, Esquire
                                                       Rebecca A. Solarz, Esquire
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                                                       Attorneys for Movant/Applicant
Dated: June 26, 2020
